       Case 16-13121-VFP          Doc 17-1         Filed 04/26/16 Entered 04/26/16 13:43:45             Desc
                                                 Invoice Page 1 of 3

Scura, Wigfield, Heyer & Stevens, LLP
1599 Hamburg Tpk
Wayne, NJ 07470
973-696-8391
973-696-8571



   Invoice submitted to:

        Robert & Thomasina Fagan
        21 Hickory Road
        West Orange, NJ



April 21, 2016
In Reference To:Chapter 13 hourly
Case # C13-00780
Invoice # 39237

             Professional Services

                                                                                           Hrs/Rate            Amount

  1/20/2016 JJS3 Meeting with client for first appointment                                    1.00             375.00
                                                                                            375.00/hr

   2/1/2016 JJS3 Meeting with paralegal on file set up and strategy on plan -                 0.40             150.00
                 reviewing tax records on property - call to broker                         375.00/hr

             JJS3 Meeting with client second appointment                                      0.80             300.00
                                                                                            375.00/hr

   2/2/2016 TA     Paralegal- Set up New client file, Enter Client Information into time      0.50    NO CHARGE
                   matters & time slips, scan Retainer.                                     150.00/hr

   2/4/2016 JBE    Review of documents. Started working on petition. Voicemail to             1.20             180.00
                   client.                                                                  150.00/hr

  2/10/2016 JBE    Petition work. Prepared plan and plan calculations.                        2.00             300.00
                                                                                            150.00/hr

  2/11/2016 DG     received credit counseling certificates; download and save to file.        0.10    NO CHARGE
                                                                                            150.00/hr

             JBE   Telephone call with client.                                                0.10              15.00
                                                                                            150.00/hr

             JBE   Telephone call with client. Petition work.                                 0.60              90.00
                                                                                            150.00/hr

  2/15/2016 JBE    Petition revisions.                                                        0.60              90.00
                                                                                            150.00/hr
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                                                                                              Hrs/Rate            Amount

  2/16/2016 CB    Reviewed prepared petition, made changes, discussed signing                    0.50             187.50
                  appt. and filing with JES and MF                                             375.00/hr

  2/18/2016 CB    Meeting with clients to review and sign BK petition and Plan.                  0.60             225.00
                  Discussed minor changes made with clients, with JES                          375.00/hr

  2/22/2016 JBE   Petition and plan revisions, telephone call with client. Filed case            0.80             120.00
                  and plan.                                                                    150.00/hr

           CB     Call with client to discuss Sears bill and their attorney being listed in      0.10              37.50
                  BK                                                                           375.00/hr

           CB     Discussion with JES regarding IRS monies owed                                  0.10              37.50
                                                                                               375.00/hr

           CB     Call with client to discuss auto. withdrawals from bank account as             0.20              75.00
                  well as Care Credit card that has credit on the same                         375.00/hr

  2/25/2016 DG    received notice of 341(a) hearing; diary same and diary date docs              0.10    NO CHARGE
                  due to trustee.                                                              150.00/hr

           JBE    341 letter to client. Uploaded docs to Trustee. Prepared retention             2.00             300.00
                  application for realtor. Telephone call and email to realtor.                150.00/hr

  2/26/2016 CB    Reviewed IRS POC and discussed with JES                                        0.20              75.00
                                                                                               375.00/hr

   3/1/2016 JBE   Filed and served retention application.                                        0.50              75.00
                                                                                               150.00/hr

   3/4/2016 JBE   Email exchange with realtor.                                                   0.20              30.00
                                                                                               150.00/hr

   3/7/2016 CB    Call with client to discuss Ally POC                                           0.10              37.50
                                                                                               375.00/hr

  3/10/2016 JBE   Telephone call with client.                                                    0.10    NO CHARGE
                                                                                               150.00/hr

  3/21/2016 CB    Telephone call with client to discuss water bill sale notice on                0.10              37.50
                  Belleville property as well as IRS delinquency letter for 2015 return,       375.00/hr
                  which is not yet due

  3/29/2016 CB    Drive to and from Newark for 341 hearing                                       1.60             240.00
                                                                                               150.00/hr

           CB     Plan and prepare for 341 hearing. Reviewed pleadings, PACER,                   0.50             187.50
                  and NDC website. Discussed making March Plan payment with JES                375.00/hr

           CB     Appearance at 341 hearing. Time includes discussion post-341                   0.50             187.50
                  and preparation with clients                                                 375.00/hr
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                                                                                         Hrs/Rate             Amount

  3/30/2016 JBE     Telephone call with client.                                             0.10    NO CHARGE
                                                                                          150.00/hr

  4/14/2016 CB      Telephone call with client to discuss 1099-C received from Chase        0.10               37.50
                    and implications on tax return                                        375.00/hr

  4/21/2016 CB      Drive to and from Newark for Confirmation hearing (time split with      0.30               45.00
                    other clients)                                                        150.00/hr

             JBE    Voicemail for client and IRS.                                           0.20               30.00
                                                                                          150.00/hr

             CB     Court appearance at Confirmation hearing                                0.30              112.50
                                                                                          375.00/hr

             For professional services rendered                                            16.50            $3,577.50

             Additional Charges :

   2/9/2016 Signature Information Solutions- Search                                                            20.00

  2/22/2016 Filing Fee                                                                                        310.00

             Total costs                                                                                     $330.00


             Total amount of this bill                                                                      $3,907.50

  2/5/2016 Payment - Thank You. Check No. 6664                                                          ($2,000.00)
 2/18/2016 Payment - Thank You. Check No. 6670                                                            ($350.00)

             Total payments and adjustments                                                             ($2,350.00)


             Balance due                                                                                    $1,557.50



                                                  Timekeeper Summary
Name                                                                                                Hours       Rate
JJS3 - John J. Scura III, Esq.                                                                       2.20     375.00
CB - Christopher Balala, Esq.                                                                        3.30     375.00
CB - Christopher Balala, Esq.                                                                        1.90     150.00
DG - Dianne Giardina - Paralegal                                                                     0.20       0.00
JBE - John B Esposito - Paralegal                                                                    8.20     150.00
JBE - John B Esposito - Paralegal                                                                    0.20       0.00
TA - Tami Arce - Paralegal                                                                           0.50       0.00
